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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

    COULTER JAMES MCGRAW,                            §
                                                     §
                   Plaintiff,                        §
                                                     §
    v.                                               §    CIVIL ACTION NO. 4:21-cv-00107-ALM
                                                     §
    QUAD/GRAPHICS, INC. and                          §
    IVIE & ASSOCIATES, LLC,                          §
                                                     §
                   Defendants.                       §
                        AGREED ORDER OF DISMISSAL WITH PREJUDICE

           Before the Court is the Joint Motion to Dismiss With Prejudice filed by the Parties. Having

    considered the Motion, the submissions of the Parties, and the other papers on file in this case, the

    Court finds the Motion should be, in all things, GRANTED.

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that all claims by

    Plaintiff Coulter James McGraw against Defendants Quad/Graphics, Inc. and Ivie & Associates,

.   LLC in all things, are DISMISSED WITH PREJUDICE TO REFILING SAME, and with costs

    of suit and attorneys’ fees taxed against the Party incurring the same.

           All relief not previously granted is hereby denied.

           The Clerk is directed to close this civil action.
            SIGNED this 23rd day of June, 2021.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
